                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT


 VERONICA-MAY CLARK,

                               Plaintiff,             Case No. 3:19-cv-575-VLB

                      v.

 ANGEL QUIROS, DR. GERALD VALETTA,
 RICHARD BUSH, and BARBARA KIMBLE-
 GOODMAN,                                             June 20, 2024

                               Defendants.


                           MOTION FOR LAW STUDENT TO APPEAR

STUDENT CERTIFICATION

I hereby certify as follows:

         1. I am a law student enrolled in good standing at Columbia Law School in New York,

and have completed legal studies amounting to at least two semesters of credit or the equivalent.

         2. I am not employed or compensated by the client.

WHEREFORE I do respectfully request approval of the Court to appear in this matter on behalf

of Veronica-May Clark under the supervision of Elana Bildner of the ACLU Foundation of

Connecticut, subject to the provisions of District of Connecticut Local Rule of Civil Procedure

83.9.



 Date:
CLIENT CONSENT

         1, Veronica-May Clark, hereby consent to the appearance on my behalf of Serra Tickey to

provide legal service and appear in court or administrative tribunals for me in the above-

captioned matter under the supervision of Elana Bildner.



 Date:



CONSENT OF SUPERVISING ATTORNEY

         I, hereby certify that I am a member of the United States District Court for the District of

Connecticut; that I assume professional responsibility for the work of Serra Tickey as a law

student intern; that I will assist the student to the extent necessary; and that I will appear with the

student in all proceedings before the Court.



 Date:                                                        Elana Bildner
                                                              ACLU Foundation of Connecticut
                                                              765 Asylum Avenue, 2nd Floor
                                                              Hartford, CT 06105
                                                              (860) 471-8475
                                                              ebildner@acluct.org



 Appearance Approved:


 United States District Judge Victor Bolden


 Date:




                                                   2
